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                                      1    Jeffrey Lewis (Bar No. 183934)
                                           Sean Rotstan (Bar No. 316041)
                                      2    JEFF LEWIS LAW
                                      3    609 Deep Valley Drive, Suite 200
                                           Rolling Hills Estates, CA 90274
                                      4    Tel. (310) 935-4001
                                           Fax. (310) 872-5389
                                      5    E-Mail: Jeff@JeffLewisLaw.com
                                      6
                                           Attorneys for Proposed Amicus Curae
                                      7    VENICE STAKEHOLDERS
                                           ASSOCIATION
                                      8
                                      9                          UNITED STATES DISTRICT COURT
                                     10         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                     11
                                     12
                                           LA ALLIANCE FOR HUMAN                    )   Case No.: 20-CV-02291-DOC-KES
609 Deep Valley Drive, Suite 200
 Rolling Hills Estates, CA 90274




                                     13    RIGHTS, et al.                           )
                                                                                    )   DECLARATION OF MARK RYAVEC
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                                     14                 Plaintiffs,                 )   ON BEHALF OF PROPOSED
                                     15                                             )   AMICUS CURAE
                                                 vs.                                )
                                     16                                             )   Date:
                                           CITY OF LOS ANGELES, et al.,             )   Time:
                                     17                                             )   Crtm:   1 (1st Street Federal Courthouse)
                                     18                 Defendants.                 )
                                                                                    )   Hon. David O. Carter
                                     19                                                 Courtroom 1
                                     20
                                                                                        Complaint Filed: March 10, 2020
                                     21
                                     22    I, Mark Ryavec, declare as follows:
                                     23          1.     I am president of proposed Amicus Curae, Venice Stakeholders
                                     24    Association (“VSA.”)
                                     25          2.     I have personal knowledge of the truth and accuracy of the facts set
                                     26    forth herein, and if called upon as a witness, I could competently testify thereto. I
                                     27    do not intend to waive the attorney-client privilege or work product doctrine by
                                     28    making any statement herein.

                                                                             DECLARATION
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                                   1          3.     VSA, founded in 2009, is a nonprofit organization dedicated to civic
                                   2    improvement. The VSA supports slow growth, the limits of the Venice Local
                                   3    Coastal Specific Plan, neighborhood safety, better traffic circulation, increased
                                   4    parking for residents, neighborhood beautification projects, historic preservation,
                                   5    habitat restoration and protection of coastal waters.
                                   6          4.     Representing residents in the Venice district of the City of Los
                                   7    Angeles, California, the VSA has grappled with the horrendous impact of the
                                   8    increase of the homeless population in Venice from approximately 400 persons in
                                   9    2014 to 1,100 persons now, as documented by the Los Angeles Homeless Services
                                   10   Authority’s annual homeless count.
                                   11         5.     The VSA provides research, education, advocacy and litigation
                                   12   support for Venice Beach residents to ensure that their voices are heard. VSA is
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                                   13   presently in litigation against the City of Los Angeles, the California Coastal
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                                   14   Commission and the Los Angeles County Metropolitan Transportation Authority
                                   15   over the erection of a 154-bed homeless shelter complex in violation of the
                                   16   California Environmental Quality Act, VSA v. City of Los Angeles, Case No.
                                   17   19STCP00044 and VSA v. Los Angeles County Metropolitan Transportation
                                   18   Authority, Case No. 19STCP00629.1
                                   19         6.     VSA urges the Court to order the city and county of Los Angeles to
                                   20   focus all temporary housing for the homeless on structures, buildings and tents that
                                   21   allow for ample and enforceable self-quarantine.
                                   22         7.     As the president of the non-profit VSA for the last ten years I have
                                   23   been deeply involved in addressing the exponential increase in the homeless
                                   24   population in my community. At one point I was the co-chair of the Venice
                                   25   Neighborhood Council’s Homelessness Committee and currently serve as a
                                   26
                                        1
                                   27    Those cases are presently under discretionary writ review by the California Court
                                        of Appeal, Second District, Venice Stakeholders Association v. Superior Court of
                                   28   Los Angeles County, Case Number B304424.
                                                                               -2-
                                                                         DECLARATION
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                                   1    Community Officer on the Venice Neighborhood Council. I hold a BA in
                                   2    psychology from UCLA and an MA in Urban Studies from the CORO
                                   3    Foundation/Occidental College. On a personal note, for many years I watched as
                                   4    my parents dealt with my drug- and alcohol-addicted younger brother, who would
                                   5    have been homeless had they not converted their garage for him to live in for most
                                   6    of his life.
                                   7           8.      As you know, the City of Los Angeles is currently re-purposing city
                                   8    recreation centers for use as temporary shelters for the homeless. While the concept
                                   9    of converting recreation centers to shelters appears appropriate in this crisis, it is
                                   10   contraindicated by the nature of the population itself.
                                   11          9.      At least 50%, and possibly a higher percentage, of the homeless
                                   12   population simply lacks the required self-discipline to abide by any social
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                                   13   distancing protocols. Over 50% are either mentally ill, substance addicted and/or
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                                   14   anti-authoritarian, or just too young to accept the seriousness of the situation (as we
                                   15   saw with partying students on the beach in Florida recently).
                                   16   One has only to look at the pandemonium at Third and Rose in Venice on March
                                   17   24th in the following video to see that social distancing is not being observed:
                                   18   https://veniceupdate.com/2020/03/25/25310/
                                   19          10.     Also, the very nature of living on the streets for prolonged periods with
                                   20   addiction, poor hygiene and sanitation, and lack of medical care, have rendered
                                   21   many in this population immuno-compromised. A larger proportion than the
                                   22   general population have underlying conditions, which puts them more at risk to
                                   23   COVID-19: heart disease, hypertension and/or diabetes.
                                   24          11.     The result is that placing them in recreation centers on cots on six-foot
                                   25   centers will assure that the virus will spread quickly among the homeless as well as
                                   26   the caregivers who at this time are not expected to have the necessary personal
                                   27   protective gear needed to prevent transmission. It also will put those over 60 and
                                   28   the high percentage that are immuno-compromised or have underlying conditions at
                                                                              -3-
                                                                        DECLARATION
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                                   1    greater risk than other options. (I would add that this analysis applies equally to
                                   2    Bridge Housing facilities, which are large communal living facilities, with no
                                   3    possibility to self-quarantine.)
                                   4          12.     Apparently, the County Sheriff understands the need to thin out jail
                                   5    populations to slow the spread of the virus in jails, but Mayor Garcetti and
                                   6    members of the City Council proceed in contradiction to the obvious, packing
                                   7    homeless into recreation centers and Bridge Housing.
                                   8          13.     All the homeless, but especially those over 60 and/or those with
                                   9    underlying conditions or immuno-compromised systems, should be given a priority
                                   10   in rooms in motels, hotels, student dormitories or military-style tents to self-
                                   11   quarantine.
                                   12         14.     At UCLA alone, a student housing blog reports2 there are beds for over
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                                   13   10,000 students, many of which are empty due to the university’s closure. There are
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                                   14   thousands of beds at other Los Angeles-area colleges and universities, such USC,
                                   15   Loyola, Pepperdine, etc. These institutions are likely to be closed through the end
                                   16   of August, possibly longer. Students remaining in campus housing may be moved
                                   17   all together in one or two dormitories, freeing up other dormitory rooms for the
                                   18   homeless during this crisis. Major institutions such as UCLA and USC have student
                                   19   health centers which are not now seeing students, which could be moved into action
                                   20   to serve the homeless. Either dormitory kitchens or local, under-utilized restaurants
                                   21   could deliver daily meals. Campus security along with the LAPD could help
                                   22   maintain social distancing.
                                   23         15.     Similarly, military-style tents set up on 10-foot or even 20-foot centers
                                   24   on the playing fields or parking lots of stadiums, such as the Rose Bowl and
                                   25   2
                                          Ok, so first off, UCLA guarantees on-campus housing for three years, and we are
                                   26   working on guaranteeing a fourth (at which time we will be the only UC to do so).
                                        About 10,000 students live on the Hill each year, which is more people than some
                                   27   towns! Holy cow. Of the students living on the Hill, most are first-years. In fact,
                                        over 95% of freshmen live on campus
                                   28
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                                                                           DECLARATION
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                                                                     PROOF OF SERVICE
                                    2            LA Alliance for Human Rights, et al. v. City of Los Angeles, et al.
                                                  U.S. Central District Court Case No. 20-CV-02291-DOC-KES
                                    3
                                              I, Jason R. Ebbens, declare that I am over the age of 18 years, employed in
                                    4
                                        the County of Los Angeles, and not a party to the within action; my business
                                    5   address is 609 Deep Valley Drive, Suite 200, Rolling Hills Estates, CA 90274.

                                    6          On March 25, 2020, I served the foregoing: DECLARATION OF MARK
                                        RYAVEC ON BEHALF OF PROPOSED AMICUS CURAE on the interested
                                    7   parties in this action by placing ¨ the original x a true copy thereof, enclosed in a
                                    8   sealed envelope with postage pre-paid, addressed as follows:

                                    9                              * See Attached Service List *
                                   10         BY ELECTRONIC MAIL. I personally transmitted to the person(s) named in
                                              the attached service list who has/have previously consented in writing to
                                   11
                                              receive documents via electronic mail to the e-mail address(es) shown on the
                                   12         service list, delivered on the date listed below, originating from an electronic
                                              e-mail address affiliated with Jeff Lewis Law. A true and correct copy of the
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                                   13         above-described document(s) was transmitted by electronic transmission
                                              through the Jeff Lewis Law mail server, which did not report any error in
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                                   14         sending the transmission
                                   15
                                              (STATE) I declare under penalty of perjury under the laws of the State of
                                   16         California that the foregoing is true and correct.
                                   17         Executed on March 25, 2020, in Rolling Hills Estates, California.
                                   18
                                                                                s/ Jason R. Ebbens
                                                                                _____________________________
                                   19
                                                                                       Jason R. Ebbens
                                   20

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                                                                         DECLARATION
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                                                 U.S. Central District Court Case No. 20-CV-02291-DOC-KES
                                   4
                                   5
                                        SPERTUS LANDES AND UMHOFER LLP               Attorneys for Plaintiffs:
                                   6    617 West 7th Street, Suite 200
                                   7    Los Angeles, CA 90017                        LA Alliance for Human Rights

                                   8    Matthew Donald Umhofer, Esq.                 Charles Malow
                                   9    Email: matthew@spertuslaw.com
                                                                                     Charles Van Scoy
                                   10   Elizabeth Anne Mitchell, Esq.
                                   11   Email: emitchell@spertuslaw.com              Gary Whitter

                                   12                                                George Frem
609 Deep Valley Drive, Suite 200
 Rolling Hills Estates, CA 90274




                                   13
                                                                                     Harry Tashdjian
         Jeff Lewis Law




                                   14
                                   15                                                Joseph Burk
                                   16                                                Karyn Pinsky
                                   17
                                                                                     Leandro Suarez
                                   18

                                   19
                                        LOS ANGELES CITY ATTORNEY’S OFFICE           Attorneys for Defendant:
                                   20   City Hall East
                                   21   200 North Main Street Room 675               City of Los Angeles
                                        Los Angeles, CA 90012
                                   22
                                   23   Arlene Nancy Hoang, Esq.
                                        Email: arlene.hoang@lacity.org
                                   24
                                   25   Scott D, Marcus, Esq.
                                        Email: scott.marcus@lacity.org
                                   26
                                   27   Jessica Mariani, Esq.
                                        Email: jessica.mariani@lacity.org
                                   28
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                                                                         DECLARATION
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                                   3             U.S. Central District Court Case No. 20-CV-02291-DOC-KES

                                   4
                                   5    FOLEY AND LARDNER LLP                         Attorneys for Defendant:
                                        555 South Flower Street, Suite 3300
                                   6    Los Angeles, CA 90071-2411                    County of Los Angeles
                                   7
                                        Byron J. McLain, Esq.
                                   8    Email: bmclain@foley.com
                                   9
                                   10   MANATT PHELPS AND PHILLIPS LLP
                                   11   2049 Century Park East, Suite 1700
                                        Los Angeles, CA 90067
                                   12
609 Deep Valley Drive, Suite 200
 Rolling Hills Estates, CA 90274




                                   13   Brandon D. Young, Esq.
                                        Email: bdyoung@manatt.com
         Jeff Lewis Law




                                   14
                                   15
                                        LEGAL AID FOUNDATION OF LOS ANGELES Attorneys for Intervenor:
                                   16
                                        7000 S. Broadway
                                   17   Los Angeles, CA 90003               Cangress
                                   18
                                        Shayla Renee Myers, Esq.
                                   19   Email: smyers@lafla.org
                                   20
                                   21   SCHONBRUN SEPLOW
                                        HARRIS AND HOFFMAN LLP
                                   22
                                        11543 West Olympic Boulevard
                                   23   Los Angeles, CA 90064
                                   24
                                        Catherine Elizabeth Sweetser, Esq.
                                   25   Email: csweetser@sshhlaw.com
                                   26
                                   27
                                   28
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                                   4
                                   5    SCHONBRUN SEPLOW                             Attorneys for Intervenor:
                                        HARRIS AND HOFFMAN LLP
                                   6    11543 West Olympic Boulevard                 Orange County Catholic Worker
                                   7    Los Angeles, CA 90064

                                   8    Catherine Elizabeth Sweetser, Esq.
                                   9    Email: csweetser@sshhlaw.com

                                   10   Paul L. Hoffman, Esq.
                                   11   Email:

                                   12
609 Deep Valley Drive, Suite 200
 Rolling Hills Estates, CA 90274




                                   13   LEGAL AID FOUNDATION OF LOS ANGELES
                                        7000 S. Broadway
         Jeff Lewis Law




                                   14   Los Angeles, CA 90003
                                   15
                                        Shayla Renee Myers, Esq.
                                   16   Email: smyers@lafla.org
                                   17
                                   18
                                        LAW OFFICE OF CAROL A. SOBEL
                                   19   725 Arizona Avenue Suite 300
                                        Santa Monica, CA 90401
                                   20
                                   21   Carol A. Sobel, Esq.
                                        Email: carolsobellaw@gmail.com
                                   22
                                   23   Weston C. Rowland, Esq.
                                        Email: rowland.weston@gmail.com
                                   24
                                   25
                                   26   ///
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                                    4     ELDER LAW AND DISABILITY
                                    5     RIGHTS CENTER
                                          1535 East 17th Street Suite 110
                                    6     Santa Ana, CA 92705
                                    7     714-617-5353

                                    8     Brooke Alyson Weitzman, Esq.
                                    9     Email: bweitzman@eldrcenter.org

                                   10     William R. Wise, Jr., Esq.
                                   11     Email: bwise@eldrcenter.org

                                   12
609 Deep Valley Drive, Suite 200
 Rolling Hills Estates, CA 90274




                                   13     SCHONBRUN SEPLOW                              Attorneys for Intervenor:
                                          HARRIS AND HOFFMAN LLP
         Jeff Lewis Law




                                   14     11543 West Olympic Boulevard                  Los Angeles Catholic Worker
                                   15     Los Angeles, CA 90064
                                   16     Catherine Elizabeth Sweetser, Esq.
                                   17     Email: csweetser@sshhlaw.com
                                   18

                                   19

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                                   21
                                   22
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